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            EXHIBIT 7
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                                                                      Page 1

1                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
2                            ATLANTA DIVISION
3
        DONNA CURLING, ET AL.,
4
                         Plaintiffs,
5                                                CIVIL ACTION FILE
              vs.                                NO. 1:17-CV-2989-AT
6
        BRAD RAFFENSPERGER, ET AL.,
7
                         Defendants.
 8
 9
10
11                  REMOTE VIDEOTAPED ZOOM DEPOSITION OF
                               DAVID HAMILTON
12
                                    January 18, 2022
13                                     10:06 A.M.
14
15               Lee Ann Barnes, CCR-1852B, RPR, CRR, CRC
16
17
18
19
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21
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23
24
25

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1              A.    Right.
2              Q.    This is an email from you to Nick Salsman,
3       Ronnell Spearman, and Derek Hawkins.
4                    Do you see that?
5              A.    Correct.       Those are the three security
6       people on my team.
7              Q.    And you say, "Guys, I would like to see if
8       the other big counties have similar sites that have
9       this vulnerability."
10                   Do you see that?
11             A.    Yes.
12             Q.    You ask them, "Would you nose around
13      Fulton, Gwinnett, DeKalb, Forsyth, et cetera and see
14      if this developer possibly sold the same app to
15      them?"
16                   Do you see that?
17             A.    Correct.
18             Q.    Do you know if your -- these team members
19      did that review?
20             A.    They did.
21             Q.    What did they find?
22             A.    None of the counties they tested had the
23      same vulnerability.
24             Q.    Did you only test these about five
25      counties?

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1              A.    Right.      Because we have 159 counties in
2       Georgia.     Right.      It would be a manual test.
3              Q.    So you didn't --
4              A.    You'd have to go find out every single
5       test and -- but usually it's only the big counties
6       that have the money to do their own site instead of
7       just forwarding it to the MVP or the OLVR.
8                    So I just told them to hit the big ones
9       just to make sure.          And that was just a -- truly a
10      community thing.         We just wanted to make sure that
11      everybody was safe, not just us.
12             Q.    Were there -- was anything else done to
13      ensure that other counties didn't have this same
14      vulnerability?
15             A.    No, I think that was it.               We just -- I had
16      the guys do some vetting of those sites, and if --
17      if one of them had come up, we would have done the
18      same thing that we did with Cobb.                  We would have
19      reached out and said, "You need to down your site
20      until you get this fixed."
21             Q.    Previously, Mr. Hamilton, you gave some
22      answers about the fact that, you know, security is a
23      journey --
24             A.    Yeah.
25             Q.    -- not a destination and it involves, you

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1       know, prioritizing certain remedies and that kind of
2       thing.      I just wanted to go back to that for one
3       minute.
4              A.     Sure.
5              Q.     You would agree that the --
6              A.     Sure.
7              Q.     -- Secretary of State is responsible for
8       what's considered critical infrastructure, including
9       the election system, would you not?
10             A.     Yes.
11                    MR. MILLER:        Objection.        Lack of
12             foundation.       Calls for speculation.
13      BY MS. KAISER:
14             Q.     And do you agree that all reasonable
15      measures should be made to secure such critical
16      systems?
17                    MR. MILLER:        Same objection.
18                    THE WITNESS:        Reasonable, right, yep,
19             reasonable and appropriate.               It's all based on
20             judgment.
21      BY MS. KAISER:
22             Q.     So you were not suggesting that it's
23      appropriate to leave significant vulnerabilities
24      unmitigated when you're dealing with --
25                    (Cross-talk.)

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1              A.    Not at all.
2              Q.    -- critical infrastructure?
3                    MR. MILLER:         Objection.
4                    THE WITNESS:         Not at all.
5       BY MS. KAISER:
6              Q.    And you were not suggesting it's
7       appropriate to take no measures to mitigate
8       significant vulnerabilities with critical
9       infrastructure systems?
10                   MR. MILLER:         Same objection.
11                   THE WITNESS:         Correct, I was not.              If we
12             can't fix it one way, there's usually other
13             compensating controls that we can do.                      So...
14      BY MS. KAISER:
15             Q.    I have a couple of questions about
16      Georgia's prior election system, by which I mean the
17      DRE voting system.
18             A.    Oh, yeah.        I probably won't be much --
19             Q.    Are you aware of any --
20             A.    -- help there, but --
21             Q.    Are you aware of any efforts made by
22      anyone in the Secretary of State's office to
23      determine whether malware was located on any
24      component of the -- of the prior DRE system?
25                   MR. MILLER:         I'm going to note an

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1               objection on relevance here.
2                       And, Mary, if you'll just allow me the --
3               humor me to have a running objection on this
4               line of questions for the old system.
5                       THE WITNESS:      Yeah, I wasn't around then,
6               so I just don't have any personal knowledge.
7       BY MS. KAISER:
8               Q.      What components of the DRE system were
9       carried over or used at any point in time with the
10      new voting system, the BMD system?
11                      MR. MILLER:      The same objection.              Lack of
12              foundation.
13                      THE WITNESS:      I -- I don't really know
14              what was there before; I can only tell you what
15              was there when I got there.              So...
16      BY MS. KAISER:
17              Q.      So you don't have any knowledge about
18      whether equipment or servers were reused?
19              A.      I think initially they probably reused the
20      servers while they were waiting to put in the new
21      ones.        But that's just a piece of hardware.                  So...
22                      At -- at one point, PCC, the company, had
23      the responsibility for the operations side, and when
24      that transferred to the Secretary of State, there
25      was a big refresh of hardware that came with it.

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1                         COURT REPORTER DISCLOSURE
2
3       Pursuant to Article 10.B. of the Rules and
        Regulations of the Board of Court Reporting of the
4       Judicial Council of Georgia which states: "Each
        court reporter shall tender a disclosure form at the
5       time of the taking of the deposition stating the
        arrangements made for the reporting services of the
6       certified court reporter, by the certified court
        reporter, the court reporter's employer, or the
7       referral source for the deposition, with any party
        to the litigation, counsel to the parties or other
8       entity. Such form shall be attached to the
        deposition transcript," I make the following
 9      disclosure:
10
11      I am a Georgia Certified Court Reporter. I am here
        as a representative of Veritext Legal Solutions.
12      Veritext Legal Solutions was contacted to provide
        court reporting services for the deposition.
13      Veritext Legal Solutions will not be taking this
        deposition under any contract that is prohibited by
14      O.C.G.A. 9-11-28 (c).
15
16      Veritext Legal Solutions has no contract/agreement
        to provide reporting services with any party to the
17      case, any counsel in the case, or any reporter or
        reporting agency from whom a referral might have
18      been made to cover this deposition. Veritext Legal
        Solutions will charge its usual and customary rates
19      to all parties in the case, and a financial discount
        will not be given to any party to this litigation.
20
21
22
          <%12034,Signature%>
23      LEE ANN BARNES, CCR B-1852B, RPR, CRR, CRC
24
25

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